Case 2:13-cv-00779-DOC-JCG

Name and address:

S. Penny Windle

Cahill Gordon & Reindel LLP
80 Pine Street

New York, NY 10005-1702
Telephone: 212.701.3000
Facsimile: 212.269.5420

Document 13 Filed 03/19/13 Page 1of4 Page ID #:161

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA

Plaintiff(s)
Vv.
MCGRAW-HILL COMPANIES, INC. and STANDARD &

POOR'S FINANCIAL SERVICES LLC
Defendant(s).

CASE NUMBER
CV13-00779 DOC (JCGx)

 

 

APPLICATION OF NON-RESIDENT
ATTORNEY TO APPEAR IN A SPECIFIC CASE

 

NOTICE:

Effective November 1, 2011, the fee for Pro Hac Vice Appearance is $325.00 for each case application. Please

submit the fee with your application, if you are efiling the application attach a copy of your receipt. Pursuant to
Local Rule 83-2.4, submission of this application and the fee is waived for attorneys for the United States, its
departments and agencies with Appointment Affidavits on file with the Clerk. If no Appointment Affidavit is
on file, submission of the application is required. The Pro Hac Vice appearance fee must be paid in full before
any appearance will be permitted. Proof of payment receipt must be attached to this application.

A CERTIFICATE OF GOOD STANDING for the applicant from the state in which the applicant is a member of the bar, and which

has been issued within 30 days, must be attached to this application.

I, S. Penny Windle

, hereby apply to the Court under Local Rules 83-2.3 and

 

83-2.8.2 for permission to appear and participate in the above-entitled action on behalf of O Plaintiff & Defendant:

McGraw-Hill Companies, Inc., et al.

 

My business information is:
Cahill Gordon & Reindel LLP

by whom I have been retained.

Firm Name

80 Pine Street

Street Address

New York, NY 10005-1702

pwindle@cahill.com

 

City, State, Zi,
315.701 3000

 

E-Mail Address
212.269.5420

 

Telephone Number

 

Fax Number

| am a member in good standing and eligible to practice before the following courts. List all that apply. Attach additional

pages if necessary.

Title of Court

See attached.

Date of Admission

 

 

 

 

 

G-64 (11/11)

APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE

PAGE | of 2
Case 2:13-cv-00779-DOC-JCG Document 13 Filed 03/19/13 Page 2 o0f4 Page ID #:162

 

| am not a resident of the State of California. I am not regularly employed in, or engaged in substantial business, professional,
or other activities in the State of California. I am not currently suspended from, and I have never been disbarred from practice
in any court.

I have concurrently, and within three (3) years of this application, made Pro Hac Vice applications to this Court in the
following actions. List all that apply. Attach additional pages if necessary.

Case Number Ttitle of Action Date of Application Application
Granted or Denied

 

 

 

 

If any Pro Hac Vice applications submitted within three (3) years of this application have been denied by the Court,
please explain:

I designate Jennifer L. Keller as local counsel, whose business information is as follows:

Keller Rackauckas LLP

 

 

 

 

 

 

Firm Name
18500 Von Karman Avenue, Suite 560
. Street Address
Irvine, CA 92612 keller@krlawllp.com
City, State, Zi E-Mail Address
949 476 8700 949 476 0900
Telephone Number Fax Number

who is a member in good standing of the Bar of this Court and maintains an office in the Central District of California for the
practice of law, as the attorney with whom the Court and opposing counsel may readily communicate regarding the conduct
of this case, and upon whom papers may be served.

I declare under penalty of perjury that the foregoing is true and correct and that I am familiar with the Local Rules, the Local
Criminal Rules, the F.R. Civ. P., the F.R. Crim. P., and the F.R. Evidence. I also consent to electronic service.

Dated 3/13/13 S. Penny Windle

D7? (plegse print,

: Applicant ’s Signature

 

 

I hereby consent to the foregoing designation as local counsel and I consent to electronic service.

 

 

Dated 3} 7 | = Jennifer L, Keller
s 7

Se e's "CPD print)
-

Designee 's Signature
84412
Designee 's California State Bar Number

 

 

NOTE: COUNSEL AND PARTIES ARE REMINDED TO SUBMIT A COMPLETED ORDER ON APPLICATION OF NON-
RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE (G-64 ORDER) ALONG WITH THIS APPLICATION.

 

G-64 (11/11) APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PAGE 2 of 2
Case 2:13-cv-00779-DOC-JCG Document 13 Filed 03/19/13 Page 30f4 Page ID #:163

MEMORANDUM March 13, 2013

Re: Penny Windle Pro Hac Application Supp. — Court Admissions

I am a member in good standing and eligible to practice before the following courts:

New York — 8/31/98

Southern District of New York — 10/18/98
Eastern District of New York — 8/26/99
Second Circuit — 11/8/2010

Third Circuit — 8/26/11

Sixth Circuit — 3/7/12
Case 2:13-cv-00779-DOC-JCG Document 13 Filed 03/19/13 Page 4of4 Page ID #:164

 

Appellate Division of the Supreme Court

of the State of New Pork
Serond Judicial Department

J, Aprilanne Agostino, Clerk of the Appellate Division of the
Supreme Court of the State of New York, Second Judicial Bepartment,
do hereby certify that Sarah Pennyquick Windle was duly
licensed and admitted to practice as an Attorney and Counselor-at-Law
in all the courts of the State, according to the laws of the State and the
court rules and orders, on the th aay of August 1998,
has duly taken and subscribed the oath of office prescribed by law, has
been enrolled in the Roll of Attorneys and Counselors-at-Law on file in
my office, has duly registered with the administrative office of the
courts, and according to the records of this court is in good standing as

an Attorney and Counselor-at-Law.

Iu Witness Wihereof, J have herennto set
my hand and affixed the seal of sata
Appellate Division on March 05, 2012.

A®

 

Clerk of the Court

 
